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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TEXAS

WACO DIVISION

BARBARA POLLEY, §
Plaintiff, §
§

Vv. § CIVIL ACTION NO. W-11-CA-059
§
REGENT ASSET MANAGEMENT §
SOLUTIONS, INC., §
Defendant. §

ORDER

Plaintiff seeks damages against Defendant for violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA’), the Texas Debt
Collection Practices Act, Chapter 392 (“TDCPA”) and the Texas Deceptive Trade
Practices Act (“DTPA”), included in Chapter 17, Subchapter E of the Texas Business
and Commerce Code. Although Defendant has been served, Defendant has filed
no answer or otherwise appeared in this lawsuit. Plaintiff moves for entry of default
and default judgment, seeking statutory damages only under the FDCPA. Having
reviewed Plaintiffs motions and the file in this case, the Court is persuaded that
default should be granted. Accordingly, it is

ORDERED that Plaintiff's request for Clerk’s entry of default is GRANTED and
the Clerk of the Court is directed to enter default in the record against Defendant.

It is further
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ORDERED that Plaintiffs Motion for Default Judgment is GRANTED and
Plaintiff shall recover from Defendant statutory damages under the FDCPA in the
amount of $1,000. Any additional relief not specifically granted is hereby DENIED.
Plaintiff shall also recover costs of $425.00 and attorney’s fees, the amount of which
shall be determined upon Plaintiff's filing of an affidavit for such fees which is in
compliance with Local Rule CV-7(i) and Johnson v. Georgia Highway Express, 488
F.2d 714 (5" Cir. 1974). Plaintiff shall file her affidavit in support of attorney’s fees

within ten (10) days from the date of this Order.

Vd tL,

WALTER S. SMITH, JR. |
United States District Judge

SIGNED this! day of July, 2011.
